              DISTRICT COURT OF APPEAL OF FLORIDA
                        SECOND DISTRICT


                             JAYCEE WASSO,

                                 Appellant

                                      v.

                           STATE OF FLORIDA,

                                  Appellee.

                             No. 2D2023-1007


                              August 23, 2024

Appeal from the Circuit Court for Hillsborough County; Michael S.
Williams, Judge.

Howard L. Dimmig, II, Public Defender, and Clayton R. Kaeiser, Special
Assistant Public Defender, Bartow, for Appellant.

Ashley Moody, Attorney General, Tallahassee, and Cynthia Richards,
Assistant Attorney General, Tampa, for Appellee.

PER CURIAM.

            Affirmed.

NORTHCUTT, VILLANTI, and SMITH, JJ., Concur.


Opinion subject to revision prior to official publication.
